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   1   Eliyahu Ness (State Bar No. 311054)
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   2
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   3   2100 Ross Avenue, Suite 2700
       Dallas, Texas 75201
   4   Telephone: (214) 981-3800
       Fax: (214)-981-3839
   5

   6   Attorneys for Corporate Recovery
       Associates, LLC and Richard Feferman
   7

   8                           UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
   9

  10   In Re:                                 CASE NO: 17-06078-MM7

  11                                          Chapter 11
  12   CORE SUPPLEMENT                        NOTICE OF APPEARANCE AND
  13   TECHNOLOGY, INC.,                      REQUEST FOR SPECIAL NOTICE

  14            Debtor.                       DATE: No Hearing Required
                                              TIME: No Hearing Required
  15
                                              JUDGE: Hon. Margaret M. Mann
  16                                          CRTM: No Hearing Required

  17

  18          PLEASE TAKE NOTICE that in accordance with Rules 2002, 3017, 4001, 9007,
  19
       and 9010 of the Federal Rules of Bankruptcy Procedure (“Rules”), the Law Office Lynn
  20
       Pinker Cox & Hurst, LLP hereby appear as counsel for Corporate Recovery Associates,
  21

  22   LLC, the Debtor’s former Chief Restructuring Officer, Richard Feferman, in the above-

  23   captioned bankruptcy case, and request that all notices, papers, pleadings, motions and

  24   applications served or required to be served in this case, be given to and served upon:
  25
                                   Eliyahu Ness (State Bar No. 311054)
  26                                        eness@lynnllp.com
                                  LYNN PINKER COX & HURST, LLP
  27                                  2100 Ross Avenue, Suite 2700
  28                                       Dallas, Texas 75201
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                                                      1
                               NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE
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   1                                        Fax: (214)-981-3839
   2

   3
       DATED: April 2, 2020                       LYNN PINKER COX & HURST, LLP
   4

   5                                       By:   /s/ Eliyahu Ness
   6                                             ELIYAHU NESS
                                                 Attorneys for Corporate Recovery Associates,
   7                                             LLC and Richard Feferman

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                               NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE
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CSD 3010 [0 /01/18]
Name, Address, Telephone No. & I.D. No.
Eliyahu Ness
(State Bar No. 311054)
eness@lynnllp.com
2100 Ross Avenue, Suite 2700




       UNITED STATES BANKRUPTCY COURT
            SOUTHERN DISTRICT OF CALIFORNIA
       325 West F Street, San Diego, California 92101-6991

 In Re

                                                                         BANKRUPTCY NO.
                                                        Debtor.



                                                                         ADVERSARY NO.
                                                        Plaintiff(s)
 v.


                                                        Defendant(s)



                                                    PROOF OF SERVICE

          I,                                             am a resident of the State of California, over the age of 18 years,
 and not a party to this action.

          On                                         , I served the following documents:

         1. NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE; and

         2. PROOF OF SERVICE



  1.       To Be Served by the Court via Notice of Electronic Filing (“NEF”) :

          Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
  court via NEF and hyperlink to the document. On                               , I checked the CM/ECF docket for
  this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
  Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:




CSD 3010
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CSD 3010 [07/01/18]

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sch@schinzelaw.com

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J. Alexandra Rhim on behalf of Creditor Bank of America, N.A.
arhim@hemar-rousso.com; tdunn@hemar-rousso.com



Wayne R. Terry on behalf of Creditor Bank of America N.A. wterry@hemar-rousso.com;
mgranzow@hemar-rousso.com

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Christopher V. Hawkins on behalf of Interested Party Joseph O'Dea
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hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.co
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Mette H. Kurth as Chapter 11 Special Counsel
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Timothy J. Truxaw on behalf of Trustee Richard M Kipperman tjt@slatertruxaw.com,
grl@slatertruxaw.com

Richard M. Kipperman as Trustee
rmk@corpmgt.com

United States Trustee
ustp.region15@usdoj.gov

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Harris J. Koroglu on behalf of Creditor Pyure Brands, LLC
hkoroglu@shutts.com




                   Chapter 7 Trustee:



                   For Chpt. 7, 11, & 12 cases:          For ODD numbered Chapter 13 cases:            For EVEN numbered Chapter 13 cases:

                   UNITED STATES TRUSTEE                 THOMAS H. BILLINGSLEA, JR., TRUSTEE           DAVID L. SKELTON, TRUSTEE
                   ustp.region15@usdoj.gov               Billingslea@thb.coxatwork.com                 admin@ch13.sdcoxmail.com
                                                                                                       dskelton13@ecf.epiqsystems.com



CSD 3010
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CSD 3010 [0 /01/18] (Page 2)

  2.      Served by United States Mail:

         On                                 , I served the following person(s) and/or entity(ies) at the last known
  address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
  United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:




  3.      Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

         Under Fed.R.Civ.P.5 and controlling LBR, on                                  , I served the following person(s)
  and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
  transmission, by overnight delivery and/or electronic mail as follows:




          I declare under penalty of perjury under the laws of the United States of America that the statements made
          in this proof of service are true and correct.



          Executed on    April 2, 2020                         /s/ Eliyahu Ness
                          (Date)                                (Typed Name and Signature)

                                                               2100 Ross Avenue, Ste. 2700
                                                               (Address)

                                                               Dallas, TX 75201
                                                               (City, State, ZIP Code)




CSD 3010
